

Kamara v Century Mgt. Servs. (2022 NY Slip Op 06432)





Kamara v Century Mgt. Servs.


2022 NY Slip Op 06432


Decided on November 15, 2022


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: November 15, 2022

Before: Gische, J.P., Kapnick, Kern, Gesmer, Higgitt, JJ. 


Index No. 27396/18 Appeal No. 16644 Case No. 2022-00380 

[*1]Sorie Kamara, Plaintiff-Respondent, 323 PAS Owner LLC, et al., Defendants,
vCentury Management Services et al., Defendants-Appellants.


Mischel &amp; Horn, P.C., New York (Lauren Bryant of counsel), for appellants.
Greenberg &amp; Stein, P.C., New York (Ian Asch of counsel), for respondent.



Order, Supreme Court, Bronx County (Wilma Guzman, J.), entered January 25, 2022, which denied the motion of defendants Century Management Services and 323 Park Avenue South Condominium for summary judgment dismissing the complaint as against them, unanimously modified, on the law, to grant the motion as to 323 Park Avenue South, and otherwise affirmed, without costs. The Clerk is directed to enter judgment dismissing the complaint as against 323 Park Avenue South.
Century Management failed to sustain its prima facie burden of demonstrating entitlement to summary judgment, as it did not submit sufficient evidence regarding its management obligations for the leased premises, including a written management contract, if it exists, or evidence of the terms of an oral management agreement (see Agli v 21 E. 90 Apts. Corp., 195 AD3d 458, 460 [1st Dept 2021]). Without these documents, issues of fact remained regarding who controlled the premises and what Century's role, if any, was in managing the premises. Therefore, there are outstanding issues of fact as to who was responsible for the repair and maintenance of the portion of the building where plaintiff was injured (see Ingrao v New York City Tr. Auth., 161 AD3d 683, 684 [1st Dept 2018]; Colon v Corporate Bldg. Groups, Inc., 116 AD3d 414, 414 [1st Dept 2014]).
As to 323 Park Avenue South, plaintiff has stated, both before Supreme Court and now on appeal, that he opposed defendants' motion only insofar as it concerned Century Management, and does not oppose dismissing the complaint as against 323 Park Avenue South.
We have considered Century's remaining contentions and find them unavailing.
THIS CONSTITUTES THE DECISION AND ORDER OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: November 15, 2022








